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SETTLEMENT AGREEMENT

Between
Merck & Co., Inc,

And .

The Counsel Listed on the'Signature Pages Hereto

Dated As Of Navember 9, 2007

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SETTLEMENT AGREEMENT

SETTLEMENT AGREEMENT, dated as of November 9, 2007 (the “Execution Date”),
between (i) Merck & Co., Inc., a New Jersey corporation (together with its successors and
assigns, “Merck”), and (i) the counsel listed in the signature pages hereto under the heading
“Negotiating Plaintiffs’ Counsel” (collectively, the “NPC”; the NPC and Merck, each a “Party”
and collectively the “Parties”).

Certain terms used in this Agreement are defined in Article 17, These terms are {talicized
the first time that they appear in the text of this Agreement.

PREAMBLE

This is an agreement between (i) Merck and (ii) the NPC, which includes all counse!
appointed to the Executive Committee of the Plaintiffs’ Steering Committee in In re VIOXX
Products Liability Litigation, MDL No. 1637, a federal multi-district litigation which is venued
in the United States District Court for the Eastern District of Louisiana (such court, the “MDL
Court’, and such steering committee, the “PSC”) and representatives of plaintiffs’ counsel in the
Coordinated Proceedings in the state courts of New Jersey, California, and Texas. This
Agreement establishes a program to resolve the actions, disputes and claims that these, and other,
plaintiffs’ counsel have asserted against Merck on behalf of their clients related to their clients’
alleged use of F7OAX,

RECITALS
A. Merck voluntarily withdrew VIOXX from the market on September 30, 2004.

B. As of October |, 2007, there were approximately 26,000 active VIOXX personal-
injury actions filed against Merck nationwide, representing approximately 47,000 claimant
groups.

C, Approximately 14,500 additional claimants asserted direct claims against Merck
but agreed to refrain from filing suit while their claims were tolled, Approximately 13,250 of
those agreements remain in effect.

Dd. More than 95% of the active plaintiffs are presently coordinated in one of the
following four “Coordinated Proceedings”:

a. Inre VIOXX Products Liability Litigation, Federal MDL No, 1657,
venued in the MDL Court;

b. Inre VIOXX Coordinated Cases, JCCP No, 4247, venued in the Superior
Court of California, County of Los Angeles;

c. In re VIOXX Litigation, Cases No. 619 and 273, venued in the Superior
Court of New Jersey, Law Division, Atlantic County; and

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d. In re Texas State VIOXX Litigation, Master Docket No. 2005-59499,
venued in the District Court of Harris County, Texas, 157th Judicial
District.

E, The NPC and Merck have agreed to establish a pre-funded, structured private
settlement program, as set forth herein, to resolve pending or tolled (and certain previously
tolled) VIOXX claims against Merck involving heart attacks, ischemic strokes and sudden
cardiac deaths for an overall amount of $4,850,000,000 (the “Program”).

F, The Program is intended to resolve, in lieu of further litigation, the claims of all
Eligible Claimants (including both Eligible Claimants within the Coordinated Proceedings and
Eligible Claimants with pending lawsuits against Merck in any District of Columbia court, any
Puerto Rico court or any court or tribunal of the United States outside the Coordinated
Proceedings) who participate in the Program (except only as otherwise set forth in Section
2.7.3.1).

G. Akey objective of the Program is that, with respect to any counsel with an
dnterest in the claims of any Enrolled Program Claimani, all other Eligible Claimants tn which.
such counsel has an Interest shall be enrolled in the Program.

H. —_ No claims brought against Merck after the date of this Agreement will be eligible
to participate in the Program or receive any payment under the Program.

1. The Program will not be construed as evidence of, or as an admission by, Merck
or any Released Party of any fault, Liabifity, wrongdoing or damages whatsoever or as
admission by any Enrolled Program Claimant of any lack of merit in their claims.

Merck and the NPC hereby agree as follows:

Article ]
Required Submissions

Section 1.1. Registration

The Parties agree to apply jointly in each of the Coordinated Proceedings for an order,
substantially in the form of Exhibit 1.1 (the “Registration Order”). According to the terms of the
Registration Order, all counsel of record in cases filed in any of the Coordinated Proceedings
must take such steps as are necessary to ensure that all Claims asserted on behalf of a Person
asserting a personal injury Claim (either in a pending action or the subject of a Tolling
Agreement), and all Claims derivative thereof, Connected With VIOXX in which such counsel
had an Interest as of October 1, 2007 (subject to the updating requirements set forth therein) are
registered and all counse] with an Interest in any such Claim are identified. Such registration
requirement will apply regardless of (i) whether such Claims are Eligible Claims, (ii) whether
such counsel intend to enroll any such Claims in the Program, and (iii) whether such Claims are
filed in any court other than the Coordinated Proceedings. Counse} shall register such Claims by
filing and serving in accordance with the Registration Order a Registration Affidavit no later than
January 15, 2008 covering each Plaintiff and Tolling Claimant (as such terms are defined in the
Registration Order) asserting such Claims. Pro se claimants must also file and serve a

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Registration Affidavit by January 15, 2008. Registration Affidavits shall be in the form set forth
in Exhibit 1.1. Counsel shal] be required to update, within 30 (thirty) days of any change thereto,
the information provided by them in their Registration Affidavit and simultaneously serve a copy
of any such update in accordance with the Registration Order.

Section 1.2. Enrollment

1.2.1. Only Eligible Claimants (and, to the extemt required pursuant to
Section 1.2.2, Derivative Claimants) may enroll in the Program.

1.2.2. In order for an Eligible Claimant to participate in the Program, such
Eligible Claimant must deliver to the Claims Administrator an Enrollment Form
(including all exhibits and attachments thereto), all properly and fully completed, and
properly and fully executed by the various Persons specified therein, not later than the
Enrollment Deadline Date, which, subject to extension as provided herein, is March 1,
2008.

1.2.2.1. - The Enrollment Form for an Eligible Claimant who is
represented by counsel must be submitted on his behalf by his Counsel. (For the
avoidance of doubt, references herein to Enrollment Forms submitted “by” a
Program Claimant(s) shall be deemed to include Enrollment Forms so submitted
on behalf of such Program Claimant.) However, in any event, all Releases (as
defined below), Medical Record Authorization Forms (as such term is used in the
Enrollment Form) and Employment Record Authorization Forms (as such term is
used in the Enro!iment Form) must be properly and fully executed by the Eligible
Claimants themselves (in addition to being executed by Counsel as specified
therein). Dismissal With Prejudice Stipulations shall be executed by the Eligible
Claimants’ (other than Eligible Claimants who do not have a lawsuit pending
against Merck Connected With VIOXX) respective Counsel (or, if not
represented by counsel, by the Eligible Claimants).

1.2.2.2. in order to qualify for an Interim Settlement Payment, an
Eligible Claimant must deliver to the Claims Administrator a properly and fully
executed Enrollment Form (including ali exhibits and attachments thereto) no
later than February 29, 2008. The Claims Administrator, by no iater than March
15, 2008, shall give to counsel for Registered Eligible Claimants (or, if not
represented by counsel, directly to the Registered Eligible Claimants) who have
not enrolled in the Program by February 29, 2008 notice of such failure to enroll.
Neither the Claims Administrator, Merck nor the NPC shali have any Liability for
any failure of the Claims Administrator to give any notice described above in this
Section. In any event, Eligible Claimants who haye not enrolled by the
Enrollment Deadline Date shall not be eligible to participate in the Program
except by consent of Merck.

1.2.2.3. As part of enrollment, each Eligible Claimant will be
required to execute a Release, in the form of Exhibit 1.2.2.3 (a “Release”), to

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(without limitation) release, and indemnify and hold harmless, each Released
Party according to the terms set forth therein.

1.2.2.4, Ali Derivative Claimants that have a lawsuit pending
against Merck Connected With VIOXX, or who are Tolling Agreement Parties
Connected With VIOXX, also must execute and deliver to the Claims
Administrator their respective Program Claimant’s Release and (unless they are
Tolling Agreement Parties) Dismissal With Prejudice Stipulation (provided that if
such Derivative Claimant is represented by counsel, then only such counsel shall
be required to execute such Dismissal With Prejudice Stipulation) in order for
such Eligible Claimant to enroll in the Program. The Program Claimant may
submit his Enrollment Form without there being full compliance with the
preceding sentence at the time of such submission. However, (i) any term of this
Agreement to the contrary notwithstanding, such Program Claimant shall not be
eligible to receive any Settlement Payment until such full compliance ts achieved
and (ii) if such full compliance is not achieved by November 30, 2008, such
Program Claimant immediately shal! cease to have any further rights under the
Pragram, and the Claims Administrator shall deliver such Program Claimant's
Dismissal With Prejudice Stipulation and Release to Merck (and, without
limitation, Merck shali be free to file or cause to be filed such Dismissal With
Prejudice Stipulation and/or Release in any relevant action or proceeding).
Executing Derivative Claimants have no direct rights or standing under the
Program, and their status under the Program is totally derivative of that of their
related Enrolled Program Claimant.

1.2.5, Submission of an Enroliment Form is irrevocable. No Program
Claimant (or related Derivative Claimant specified in Section 1.2.2) may under any
circumstances or reason withdraw an Enrollment Form, request the return of his Release
or Dismissal With Prejudice Stipulation (other than as specified in Section 2.7.3.1), or
otherwise unilaterally exit the Program.

1.2.4. By submitting an Enro!|ment Form, the Enrolling Counsel, and all
Program Claimants covered by such Enrollment Form (and all retated Executing
Derivative Claimants), shall be deemed to have agreed 10 be bound by ail of the terms
and conditions of this Agreement.

1.2.5, Without limitation of Section 1.2.6 or Article 10, each of Merck in its
sole and absolute discretion, and the Claims Administrator (with Merck’s consent), may
accept or reject an Enrollment Form in relation to any particular Program Claimant at any
time on or prior to the 30th day after the Enrollment Deadline Date if (i) the Enrollment
Form is not properly completed and executed by each Person required to execute such
Enrollment Form, or (ii) such Enrollment Form (x) fails to provide the information
required therein to be provided in relation to such Program Claimant, (y) fails to include a
Release, Medical Record Authorization Form or Employment Record Authorization
Form (the latter for applicants for EI Payments) executed by such Program Claimant and
each other Person herein and/or therein required in relation to such Program Claimant to
execute such Release (except as otherwise provided in Section 1.2.2.4} or (z) fails to

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include a Dismissal With Prejudice Stipulation executed on behalf of such Program
Claimant, and (except as otherwise provided in Section 1.2.2.4) all related Executing
Derivative Claimants (in each case other than Tolling Agreement Parties), by their
Counsel.

1.2.6, Enrolling Counsel] may submit Enrollment Forms for Eligible
Claimants on a rolling basis. However, without limitation of Section 1.2.5, at any time
on or prior to the 60th day after service of the Certification of Fina! Enrollment included
in the “Enrollment Materials” included in the Enroliment Form, Merck in its sole and
absolute discretion may reject any or all Enrollment Forms submitted by an Enrolling
Counsel, in relation to any or all of the Program Claimants covered thereby, for the
following reasons:

1.2.4.1. Such Enrolling Counse} has failed to file a Registration
Affidavit complying with the Registration Order; or

1.2.6.2. Such Enrolling Counsel has been determined pursuant to
Section 1.2.9 to have failed in any respect to comply with the requirements of
Section 1.2.8.1, 1.2.8.2 or 1.2.8.3;

1.2.6.3, Such Enrolling Counsel has since the Execution Date
received compensation (or entered into any agreement or arrangement to receive
or potentially to receive compensation) for relinquishing his or her Interest in any
Claim Connected With VIOXX of any Eligible Claimant who has not enrolled in
the Program as of the date of service of the Certification of Final Enrollment (or,
if earlier, June 30, 2008).

1.2.7, The parties agree that a key objective of the Program is that, with
respect to any counsel with an Interest in the claims of any Enrolled Program Claimant,
all other Eligible Claimants in which such counsel has an Interest shal] be enrolled in the
Program.

1.2.8. While nothing in this Agreement is intended to operate as a
“restriction” on the right of any Claimant’s counsel to practice law within the meaning of
the equivalent to Rule 3.6(b) of the ABA Model! Ruies of Professional Conduct in any
jurisdictions in which Claimant’s Counsei practices or whose rules may otherwise apply,
it is agreed that (except to the extent waived by Merck in its sole discretion in any
instance):

1.2.8.1. By submitting an Enrol]lment Form, the Enrolling Counsel
affirms that he has recommended, or (if such Enrollment Form is submitted prior
to February 28, 2008) will recommend by no later than the earlier of the date of
service of the Certification of Final Enrollment and February 28, 2008, to 100%
of the Eligible Claimants represented by such Enrolling Counsel that such
Eligible Claimants enroll in the Program.

1.2.8.2, If any such Eligible Claimant disregards such
recommendation, or for any other reason fails (or has failed) to submit a non-

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deficient and non-defective Enrollment Form on or before the earlier of the date
of service of the Certification of Final Enrollment and June 30, 2008, such
Enrolling Counsel shall. on or before the earlier of Sune 30, 2008 and the 30th day
after the date of service of the Certification of Final Enrollment (or, if such
Enrolling Counsel first becomes an Enrolling Counsel after June 30, 2008, shall
have, by the date such Enrolling Counsel so first became an Enrolling Counse!),
to the extent permitted by the equivalents to Rules 1.16 and 5.6 of the ABA
Model Rules of Professional Conduct in the relevant jurisdiction{s). (i) take (or
have taken, as the case may be) all necessary steps to disengage and withdraw
from the representation of such Eligible Claimant and to forego any Interest in
such Eligible Claimant and (ii) cause (ar have caused, as the case may be) each
other Enrolling Counsel, and each other counsel! with an Interest in any Enrolled
Program Claimant, which has an Interest in such Eligible Claimant to do the _
same.

1.2.8.3. Each Enrolling Counsel, by submitting an Enrollment
Form, agrees to abide by Section 1.2.8.2 in relation to any Eligible Claimant in
which such Enrolling Counsel is an “other Enrolling Counse?’ referenced in
clause (ii} of said Section 1.2.8.2 (and to do so in the same time frame as is
applicable to the Enrofling Counsel who represents such Eligible Claimant).

1.2.9, Upon request from Merck at any time, the Chief Administrator will
determine whether an Enroiling Counsel has failed to comply with the requirements of
Section 1.2.8.1, 1.2.8.2 or 1.2.8.3 in amy respect. The Chief Adminisirator’s decision on
this matter shall be final, binding and Non-Appealable.

1.2.10. Without limitation, for purposes of Sections 1.2.6, 1.2.7, 1.2.8, 1.2.9,
2.5.3.1, 3.2.1.1 and Section 11.1.5, (7) any Person that would be considered to be an
“Eligible Claimant” based on the information set forth in such Person’s (or such Person's
Product User's) complaint, Profile Form and/or PME Records shall be considered to
constitute an “Eligible Claimant” and (ii) a lawyer or law firm shall be considered to have
an Interest in each Person in which such Jawyer or Jaw firm claims to have, or have had,
an Interest in a Registration Affidavit,

Section 1.3. Claims Package ard Submissions of PME Records

13.1, Each Enrolled Program Claimant shall submit to the Claims
Administrator a fully completed Claims Package, including all of the PAVE Records and
other records or other documentation specified in Exhibit 1.3.1 (the “Required PME
Records”) but excluding Additional Claims Information (which is covered by Section
1.4), by July 1, 2008,

1.3.2. Each Claims Form (and Supplementary Claims Form) must be
submitted on behalf of the Program Claimant by his Counsel. [fa Program Claimant is
not represented by Counsel, such Claims Form (or Supplementary Claims Form) must be
executed by the Program Claimant.

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1.3.3. Any portion of any or all of the Enrollment Forms and/or Claims
Packages may be required to be filed electronically.

1.3.4. In relation to any particular Enrolled Program Claimant, Merck will
provide to the Claims Administrator, the Gate Committee and the Special Master, and to
such Enrolled Program Claimant and his Counsel, such access to the Litigation Afedical
Records Depository as is available to plaintiffs via the Internet at www.lmi-med.com.

1.3.5. The Administrators and the Gate Committee, and their respective
representatives and others deemed necessary by each to assist them and/or their
representatives, will have unlimited access to ali submitted Enrollment Forms and Claims

Packages.

Section 1.4. Additional Claim Information

14,1. The Claims Administrator or the Specia! Master may require such
additional records or other documentation (including further documentation) as either of
them may determine is materia! and necessary (i) to determine whether a particular
Enrolled Program Claimant meets the Eligibility Requirements or (ii) for purposes of the
Claims Valuation Process (any such further required records or other documentation, the
“Additional Claim Information” ). In such cases, the Claims Administrator or the Special
Master shall issue a written request to the Enrolled Program Claimant’s Counsel, or if
without counsel, to the Enrolled Program Claimant.

1.4.2. An Enrolled Program Claimant must produce Additional Claim
Information requested pursuant to Section 1.4.1 gither within 60 days of service of such
request or by the deadline set forth in Section 1.3.1, whichever is later.

1.4.3. Additional Claim Information shall be submitted by means of a
Supplementary Claims Form executed and delivered as specified in Section 1.3.2,

Section 1.4. Submissions Review/Completeness Provisions

Exhibit 1.5 is hereby incorporated into this Agreement by this reference as if set
forth in full herein.

Section 1.6. Pro Se Enrolled Program Claimants

1.6.1. Enrolled Program Claimants who are not represented by counsel may
request assistance with the claims process from the PSC.

1.6.2. Enrolled Program Claimants who are not represented by counsel may,
at any time, obtain legal counsel in connection with this Agreement.

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Article 2
Eligibility for Claims Valuation

Section 2.1]. Eligibility for Claims Valuation

The Claims Valuation Process in the Program is open only to those Enrolled
Program Claimants who are determined or deemed to meet the Eligibility Requirements, or
otherwise are deemed to be “Qualifying Program Claimants,” in each case as set forth below in
this Article 2 (any such Enrolled Program Claimant, a “Qualifying Program Claimant”).

Section2.2. Eligibility Requirements

2.2.1, The “Eligibility Requirements.” with respect to any particular Enrolled
Program Claimant, are the following:

2.2.1.1, such Enrolled Program Claimant or Enrolled Program
Claimant’s Product User shall meet the Injury Gate criteria specified in Exhibit
2.2.1.1 in relation to his Eligible Event;

2.2.1.2. such Enrolled Program Claimant or Enrolled Program
Claimant’s Product User shall meet the Duration Gate criteria specified in Exhibit
2.2.1.2 in relation to such Eligible Event; and

2.2.1.3. such Enrolled Program Claimant or Enrolled Program
Claimant's Product User shal] meet the Proximity Gate criteria specified in
Exhibit 2.2.1.3 in relation to such Eligible Event.

2.2.2, For purposes of the Eligibility Requirements and for purposes of
Claims Valuation Process, evidence of VIOXX usage shall be determined in accordance
with the criteria set forth in Exhibit 2.2.2.

2.2.3, Exhibits 2.2.1.], 2.2.1.2, 2.2.1.3 and 2.2.2 are hereby incorporated into
this Agreement by reference.

Section 2.3, Claims Administrator

2.3.1, The Claims Administrator initially will determine whether an Enrolled
Program Claimant meets the Eligibility Requirements. In that connection, the Claims
Administrator shall review and analyze the Claims Package submitted by the Enrolled
Program Claimant and may, to verify completeness or to verify the presence or absence
of a condition suggested in the Claims Package, or in cases of inconsistency, suspicion of
irregularity, for audit purposes and/or similarly appropriate circumstances, review and
analyze other documents or materials that the Claims Administrator has access to
pursuant to this Agreement.

2.3.2. Any Enrolled Program Claimant who the Claims Administrator
determines meets the Eligibility Requirements is a Qualifying Program Claimant, and
such Enrolled Program Claimant shall have his EC Claim assessed, and be eligible to

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receive payments, as set forth in Article 3 and Article 4. The Claims Administrator
promptly shall notify the Gate Committee and such Enrolled Program Claimant of such
determination of the Claims Administrator.

2.3.3. Any Enrolled Program Claimant who the Claims Administrator
determines not to meet the Eligibility Requirements will be subject to the procedures set
forth in Section 2.5 and Section 2.6.

Section 2.4. The Gate Committee

24.1, There is hereby established for purposes of this Agreement a
committee called the “Gate Committee”.

2.4.2. Merck shall have right to appoint, remove and replace in its discretion
(at any time or from time to time) three representatives to the Gate Committee, The NPC
shall have right to appoint, remove and replace in their discretion (at any time or from
time to time) three representatives to the Gate Committee,

2.4.3, Merck’s representatives on the Gate Committee may discuss any
matter relating to the Gate Committee and its affairs, or otherwise relating to Section 2.5,
with Merck. The NPC’s representatives on the Gate Committee may discuss any matter
relating to the Gate Committee and its affairs, or otherwise relating to Section 2.5, with
the NPC.

Section 2.5, Determinations of the Gate Committee

2.5.1. The Claims Administrator shall inform the Gate Committee on a
regular basis of the Enrolled Program Claimants that it has determined fail to meet the
Eligibility Requirements. The Gate Committee subsequently will determine whether
such Enrolled Program Claimants wil! be deemed to be Qualifying Program Ciaimants
notwithstanding the contrary conclusion of the Claims Administrator,

2.5.2. The Gate Committee shail have the right to receive and review any or
all of the records made available to the Claims Administrator conceming any particular
Enrolled Program Claimant that the Claims Administrator determined failed to meet the
Eligibiliry Requirements, as well as any additional materials that such Enrolled Program
Claimant may wish to provide, any material in the Litigation Medical Records
Depository available to the Gate Committee pursuant to Section 1.3.4 or any material
otherwise available.

2.5.3, The Gate Committee shall commence meeting after the Claims
Administrator informs the Gate Committee of its first determinations that an Enroiled
Program Claimant has failed to meet the Eligibility Requirements, For the first six
months after being so informed, the Gate Committee shali meet on a monthly basis.
Thereafter, the Gate Committee sha!] meet on a quarterly basis, The Gate Committee
may elect to meet more often if necessary to properly discharge its responsibilities.

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2.5.3.1. The Gate Committee shall process Program Claims in the
order in which they are provided to the Gate Committee by the Claims
Administrator, provided that the Gate Committee shall not consider the case of
any particular Enrolled Program Claimant until full compliance with the first
sentence of Section 1.2.2.4 has been, or is, achieved in relation to such Program
Claimant. However, neither the Gate Committee nor Merck shall have any
Liability for any failure to comply with the preceding sentence.

2.5.4. An Enrolled Program Claimant that the Claims Administrator has
determined not to meet the Eligibility Requirements nonetheless will be deemed to be a
Qualifying Program Claimant if a majority of the Gate Committee so determines (for the
avoidance of doubt, with or without regard to the Eligibility Requirements). Conversely,
subject to Section 2.5.5, an Enrolled Program Claimant will be deemed not to be a
Qualifying Program Claimant if three or more members of the Gate Committee determine
that the determination of the Claims Administrator should not be overtumed, Members
of the Gate Committee shall establish procedures to prevent the NPC representatives
thereon from voting on cases where they have an Interest. The Gate Committee shall
inform the Claims Administrator on a periodic basis of its determinations.

2.5.5.

2.5, 3.1. Regardless of any contrary decision of the Claims.
Administrator and/or the Gate Committee (including any such decision in which
any Merck representative on the Gate Committee may have concurred}, an
Enrolled Program Claimant aiso will be deemed to be a Qualifying Program
Claimant if Merck’s representatives on the Gate Committee, in their sole and
absolute discretion, deem (by timely (as specified in Section 2.5.5.2) notice to
such effect to the Claims Administrator) such Enrolled Program Claimant to
constitute a Qualifying Program Claimant (for the aveidance of doubt, with or
without regard to the Eligibiliry Requirements). For the avoidance of doubt,
action taken by the Gate Committee as a whole shall not be considered ta
constitute action taken by Merck's represeniatives pursuant to this Section
2.5.5.1; Merck’s representatives on the Gate Committee shall be considered to
have taken action pursuant to this Section 2.5.5.1 only when such representatives
shal] send a notice to such effect, specificaily citing this Section 2.5.5.1, ta the
Claims Administrator.

2.5.5.2 Any action pursuant to Section 2.5.5.1 shall be taken;

2.5.5,2.1, within six (6) months of the first monthly
meeting of the Gate Committee held pursuant to Section 2.5.3, with
respect to each Enrolled Program Claimant whose Qualifying Program
Claimant status is determined (subject to this Section 2.5.5) by the Gate
Committee at such first monthly meeting and/or any intervening monthly
meeting held at least twenty (20) days prior to the expiration of such six-
month period; and

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2.5.5.2.2. within 30 days following each subsequent
meeting of the Gate Committee held pursuant to Section 2.5.3, with
respect to each Enrolled Program Claimant whose Qualifying Program
Claimant status is determined (subject to this Section 2.5.5) by the Gate
Committee at such meeting.

2.9.9.3, Merck’s representatives on the Gate Committee may
unilaterally deem any particular Enrolled Program Claimant to be a Qualifying
Program Claimant pursuant to Section 2.5.5.1 only if there is evidence in the
Claims Package and/or any of the other records or other documentation available
to the Claims Administrator or the Gate Committee that such Enrolled Program
Claimant’s Product User suffered an Eligible Event and used VIOXX before such
Event.

23.5.4, Merck’s representatives on the Gate Committee may
unilaterally deem any particular Enrolled Program Claimant to be a Qualifying
Program Claimant pursuant to Section 2.5.5.1 only so long as, at such time (and
immediately after giving effect to such action), the aggregate number of
Threshold Exceeding Gate Pushes does not exceed 2,500.

2.5.5.4.1. A “Threshold Exceeding Gate Push” shal!
be deemed to occur when Merck’s representatives on the Gate Committee
unilaterally deem an Enroiled Program Claimant to be a Qualifying
Program Claimant pursuant to Section 2.5.5.1 at a time when the quotient
of (i) the then aggregate number of Qualifying Program Claimants divided
by (ii) the sum of (A) the then aggregate number of Qualifying Program
Claimants plus (B) the then aggregate number of Enrolled Program
Claimants whom have been determined not to be a Qualifying Program
Claimant (which determination has not effectively been overridden
pursuant to this Section 2.5.5) exceeds 0,7,

2.5.6. Ifthe Gate Committee determines that a particular Enrolled Program

Claimant is not to be deemed to be a Qualifying Program Claimant and Merck's
representatives on the Gate Committee do not take a contrary action pursuant to Section
2.5.5 within the time period specified therein, then the Claims Administrator thereafter
will give written notice to such effect to the Enrolled Program Claimant’s Counsel or, if
the Enrolled Program Claimant is without Counsel, to the Enrolled Program Claimant
directly,

Section 2.6. Appeal from Determinations of the Claims Administrator and the Gate Commitice

2.6.1. Subject to Section 2.5 and this Section 2.6, determinations of the

Claims Administrator pursuant to Section 2.3 shall be final, binding and Non-Appeatable.
Subject to Section 2.5.5 and this Section 2.6, determinations of the Gate Committee
pursuant to Section 2.5 shall be final, binding and Non-Appealable,

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2.6.2. If the Gate Committee determines that a particular Enrolled Prograrn
Claimant is not to be deemed to be a Qualifying Program Claimant (and Merck’s
representatives on the Gate Committee do not take a contrary action pursuant to Section
2.5.5 Within the time period specified therein), the Enrolled Program Claimant may
appeal the Gate Committee’s determination to the Special Master by submitting a written
notice to such effect to the Claims Administrator and the Special Master within fiftcen
(15) days of service by the Claims Administrator of the Gate Committee’s determination
to the Enrolled Program Claimant. Such notice shall be in such form as determined by
the Claims Administrator.

2.6.3, If the Enrolled Program Claimant serves a timely written notice of
appeal, the Special Master will determine de novo whether the Enrolled Program
Claimant meets the Eligibility Requirements, based solely on (i) the Claims Package
submitted by such Enrolled Program Claimant, and (ii) in the Special Master’s discretion,
any records or other documentation in the Litigation Medical Records Depository
available to the Special Master pursuant to Section 1.3.4 that the Special Master deems
relevant. The Special Master’s decision on this matter shall be binding, final, and Non-
Appealable. The Special Master shall notify the Claims Administrator of its decision,
and the Claims Administrator shall, promptly following receipt of such notice, notify the
Gate Committee and the Enrolled Program Claimant of the Special Master’s decision.

Section 2.7. Resolution

2.7.1, If (i) an Enrolled Program Claimant receives a notice from the Claims
Administrator pursuant to Section 2.5.6, and (ii) such Enroiled Program Claimant makes
and wins an appeal to the Special Master pursuant to Section 2.6, such Enrolled Program
Claimant shall have his EC Claim assessed, and be eligibie to receive payments, as set
forth in Article 3 and Article 4.

2.7.2. If (i) an Enrolled Program Claimant receives a notice from the Claims
Administrator pursuant to Section 2.4.6, and (ii) such Enroiled Program Claimant makes
and loses an appeal to the Special Master pursuant to Section 2.6, such Enrolled Program
Claimant immediately shal! cease to have any further rights under the Program, and the
Claims Administrator shal] deliver the Enrolled Program Claimant's Dismissal With
Prejudice Stipulation and Release to Merck (and, without limitation, Merck shall be free
to file or cause to be filed such Dismissal With Prejudice Stipulation and/or Release in
any relevant action or proceeding).

2.7.3. if (i) an Enrolled Program Claimant receives a notice from the Claims
Administrator pursuant to Section 2.5.6 and (ii) such Enrolled Program Claimant does not
make an appeal to the Special Master pursuant to Section 2,6, such Enrolled Program
Claimant must determine whether to execute and deliver to the Claims Administrator (for
Merck) a Future Evidence Stipulation in the form of Exhibit 2.7.3 (the “Future Evidence

Stipulation”).

273.1, If such Enrolled Program Claimant executes and delivers
a Future Evidence Stipulation to the Claims Administrator within thirty (30) days

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of delivery to such Enrolled Program Claimant or its Counsel of the Claims
Administrator notice described in Section 2.5.6, then such Enrolled Program
Claimant's Release and Dismissal With Prejudice Stipulation shall, subject to
Section 7.2, be returned to such Enrolled Program Claimant.

2.7.3.2, If such Enrolled Program Claimant fails to execute and
deliver a Future Evidence Stipulation to the Claims Administrator within thirty
(30) days of delivery to such Enrolled Program Claimant or its Counsel of the
Claims Administrator notice described in Section 2.5.6, then promptly thereafter
the Claims Administrator shall deliver the Enrolled Program Claimant's
Dismissal With Prejudice Stipulation and Release to Merck (and, without
limitation, Merck shall be free to file or cause to be filed such Dismissal With
Prejudice Stipulation and/or Release in any relevant action or proceeding).

Section 2.8. New Evidence

Anything in this Article 2 above to the contrary notwithstanding, the Claims
Administrator may, at any time prior to the Enrollment Deadline Date, upon an application to
such effect by an Enrolled Program Claimant, permit such Enrolled Program Claimant to oe re-
considered for Qualifying Program Claimant status based on new evidence submitted by such
Enrolled Program Claimant, if the Claims Administrator determines that (i) such Enrolled ©
Program Applicant was not aware of such new evidence at the time he submitted his original
Claims Package, or had made a diligent and good faith attempt to produce such new evidence as
part of his original Claims Package, and (ii) such new evidence is material to a determination as
to whether such Enrolled Program Claimant meets the Eligibility Requirements, In such cases,
such Enrolled Program Claimant’s Program Claim shall be considered anew in accordance with
the provisions of this Article 2 above, provided that such Enrolled Program Claimant (and his
related Executing Derivative Claimants) shall be required to execute and deliver a new Release
and Dismissal With Prejudice Stipulation (provided that if such Person is represented by counsel,
then only such counsel shall be required to execute such Dismissal With Prejudice Stipulation) if
the prior Release and Dismissal With Prejudice Stipulation were returned to such Enrolled
Program Claimant pursuant to Section 2.7.3.1 (and may be required to execute and deliver a new
Medica] Record Authorization Form and Employment Record Authorization Form). Any
determination by the Claims Administrator not to, or any other failure by the Clatms
Administrator to, exercise the discretion afforded to it under this Section 2.8 is final, binding and
Non-Appealable,

Section 2.9, Qualifving Program Claimant Status as Eligible Claimants

A Person who has been determined or deemed to be a Qualifying Program

Claimant pursuant to this Article 2 shall be deemed, for all purposes of Article 3 through and

including Article 5 to constitute an “Eligible Claimant” and a “Qualifying Program Claimant”

notwithstanding that such Person, for whatever reason, did not meet the Eligibility

Requirements. Such Person shall not, however, for the avoidance of doubt, be deemed for

purposes of Section 10.4 or Section 10.5 to be an “Eligible Claimant” or a “Qualifying Program

Claimant”, Nothing in this Section 2.9 limits Merck’s rights and remedies in the event of fraud
__ or other intentional misconduct.

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Article 3
Claims Valuation

Section 3.1. General

Each Qualifying Program Claimant shall receive a monetary payment based (unless such
Qualifying Program Claimant elects to receive a Fixed Payment pursuant to Section 3.3) on the
number of Points awarded to such Qualifying Program Claimant during the Claim assessment
process described in Section 3.2.1 (including Exhibit 3.2.1) and Section 3.4 (the “Points Award
Process”) and the value of those Points as determined after all Qualifying Program Claimants
have completed the Claims Valuation Process. The Points Award Process, together with the EJ
Payment process set forth in Section 4.2, may be referred to herein as the “Claims Valuation
Process”.

Section 3.2. Claim Assessment Process

3.2.1. After an Enroffed Program Claimant has been determined or deemed
. to be a Qualifying Program Claimant and such Person's Program Claim has been

Completed (as defined below), the Claims Administrator shall determine the number of
Points that should be awarded to the Qualifying Program Claimant. The criteria,
methodologies, formulae, guidelines and other terms and conditions for determining
Poinis awards (collectively, the “Point Awards Criteria”) are (except for the terms of
Section 3.4) set forth in Exhibit 3.2.1. The analysis performed by the Claims
Administrator shall be based solely on the terms and conditions of Exhibit 3.2.1,

3.2.1.1, The Claims Administrator shall process Program Claims
in the order in which all of the following are satisfied in relation to Enrolled
Program Claimants: {i} such Enrolled Program Claimant is determined or deemed
to be a Qualifying Program Claimant pursuant to Article 2; and (ji) such Enrolled
Program Claimant's Program Claim is Completed. However, neither the Claims
Adininistrator nor Merck shall have any Liability for any failure to do so.

3.2.1.2. A Program Claim shal! be considered to have been
“Completed” when the Claims Administrator determines that such Enrolled
Program Claimant’s entire Claims Package has been provided to the Claims
Administrator and such materials are not defective or deficient (or, if applicable,
when such Enrolled Program Claimant is given a special dispensation pursuant to
section 4{a) of Exhibit! 5, and such dispensation has become final, binding and
Non-Appealable).

3.2.2, As outlined in Exhibit 3.2.1, Points assessment will consider (without
limitation and among other factors as set forth in Exhibit 3.2.1) the extent of injury, age,
consistency of VIOXX usage, duration of VIOXX usage, risk factors, and the date of the
Related Eligible Event.

3.2.3. The Claims Administrator shall notify each Qualifying Program
Claimant, Merck and the NPC of such Qualifying Program Claimant's Points award
using a form developed for such purpose by the Claims Administrator. Such Points

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award shal] be subject to (i) appeal to the Special Master as set forth in Section 3.2.4, (ii)
adjustment as set forth in Section 3.4 and (ili) Article 10, but otherwise shall be final.
binding and Non-Appealable.

3.2.4. A Qualifying Program Claimant may appeal its Points award
determination of the Claims Administrator to the Special Master by submitting a written
notice to such effect to the Claims Administrator and the Special Master within fifteen
(15) days of service of the Points award determination. The Special Master thereupon
shall review such determination de novo. If, upon any such timely appeal, the Special
Master determines that a determination of the Claims Administrator was in error, the
Special! Master either may return the matter to the Claims Administrator for a further
determination (which itself may be appealed in the same manner as specified above) or
may substitute its own determination for that of the Claims Administrator. All such
determinations of the Special Master shall be final, binding and Non-Appealable. The
Special Master shall notify the Claims Administrator of its determination, and the Claims
Administrator shall, promptly following receipt of such notice, notify Counsel for the
relevant Qualifying Program Claimant (or, if such Qualifying Program Claimant is
without counsel, such Qualifying Program Claimant itself), Merck and the NPC of the
Special Master’s determination.

Section 3.3, Fixed Payment

3.3.1. A Qualifying Program Claimant’s Points award shall be considered to
be “Pre-Special Review” when the entire process deseribed in Section 3.2 for
determining such award (including any appeals to the Special Master) has been
completed with respect to such Qualifying Program Claimant.

3.3.2. Ifa Qualifying Program Claimant’s Pre-Special Review Points award
is Jess than the Special Review Marker (any such Qualifying Program Claimant, a
“Special Marker OPC”), then such Qualifying Program Claimant shall have the right, by
delivering a notice to such effect to the Claims Administrator within 30 days of his
receipt from the Claims Administrator of the last notice sent to him pursuant to Section
3.2, to elect to receive (in lieu of all other Settlement Payments) a fixed payment of
$5,000 (a “Fixed Pavment”; any Fixed Payment with respect to an Ad? Qualifying
Program Claimant, the “M1 Fixed Payment”; and any Fixed Payment with respect to an
IS Qualifying Program Claimant, the “IS Fixed Payment”).

3.3.3. If a Special Marker QPC timely elects to receive the Pixed Payment,
such Fixed Payment thereafter shall be paid in accordance with Article 5, provided that
no Fixed Payment shall be paid prior to the expiration of Merck’s Walk Away Right
(without such right having been exercised).

3.3.4, For the avoidance of doubt, this Section 3.3 is subject in all respects to
Article 12 (including in particular Section 12.1.3).

3.3.5, A Qualifying Program Claimant’s Points award shall be considered to
be “Final” when (i) such Qualifying Program Claimant’s Points award is considered to be

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Pre-Special Review, unless such Qualifying Program Claimant is a Special Review QPC
(as defined below), and (ii) if such Qualifying Program Claimant is a Speciaj Review
OPC, after (and as) such Special Review QPC’s Pre-Special Review Points award is
adjusted pursuant to Section 3.4. For the avoidance of doubt, a Points award having
become Pre-Special Review or Final does not in any manner or to any extent affect the
applicability of Article 10 to the related Program Claim.

Section 3.4. Special Review

3.4.1. Ifa Special Marker QPC fails timely to elect to receive a Fixed
Payment, such Qualifying Program Claimant’s claim shail be reviewed de novo by the
Special Master, in accordance with this Section 3.4. Such a Special Marker QPC is
generally referred to herein as a “Special Review OPC”. A Special Review QPC that is
an MI Qualifying Program Claimant may be referred to herein as an “MI Special Review
OPC”. A Special Review QPC that is an IS Qualifying Program Claimant may be
referred to herein as an “IS Speciai Review OPC”.

3.4.2. The de novo review mentioned in Section 3.4:1 shall only be
conducted (i) for MI Special Review QPCs, after all MI Qualifying Program Claimants
have been awarded Points pursuant to the Points Award Process, and such Points awards
have become Pre-Special Review, and (ti) for IS Special Review OPCs, after all IS
Qualifying Program Claimants have been awarded Points pursuant to the Points Award
Process, and such Points awards have become Pre-Special Review.

3.43. In performing the de nove review of the Special Review QPC’s EC
Claim, the Special Master is not bound by the Point Award Criteria specified in Section
3.2 and Exhibit 3.2.1. Asa result, because the Special Master may weigh and assess the
evidence, including the Special Review QPC's duration of use of the VIOAA, the extent
of the Special Review QPC’s injury and the risk factors, differently than those criteria are
valued under the Point Award Criteria as stated in Section 3.2 and Exhibit 3.2.1, the
Special Master’s relative evaluation of the Special Review QPC’s EC Claims, as
compared to one another, may be different than the relative evaluation of those EC
Claims by the Claims Administrator,

3.4.4, In performing this de novo review of the Special Review QPC’s EC
Claims, the Special Master shall award Points to the Special Review QPCs ranging from
0 to 5 points for MI Special Review QPCs, and 0 to I point for IS Special Review QPCs,
with the average Points being awarded to said Special Review QPCs to be equal to 2.5
Points for MI Special Review QPCs and 0.5 Points for IS Special Review QPCs.

3.4.5, All actions of the Special Master, and al] adjustments of Pre-Special
Review Points awards, pursuant to this Section 3.4 shall be binding, final and Non-
Appealable.

3.4.6, For the avoidance of doubt, Special Review QPCs shall be entitled to
receive Final Settlement Payments in the same manner (including at the same time) as

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other Qualifying Program Claimants that are not Special Marker QPCs, on the basis of
their respective Final Points awards after adjustment in accordance with this Section 3.4.

Section 3.5. Possible Additional Points Award For Second Eligible Event

3.5.1, Notwithstanding anything in this Agreement to the contrary, an
Enrolled Program Claimant may allege a second Eligible Event, in addition to his Related
Eligible Event (the “Second Eligible Event” ), solely for the purposes of this Section 3.5.

3.5.2. Notwithstanding the assertion of a Second Eligible Event, al! of the
terms and conditions of this Agreement shall continue to apply to the relevant Enrolled
Program Claimant and his Related Eligible Event except only as otherwise specifically
provided in this Section 3.5. Accordingly, an Enrolled Program Claimant asserting a
Second Eligible Event may, but is not required to, produce any particular PME Records
that he desires to have considered by the Ciaims Administrator and the Gate Committee
for purposes of this Section 3.5.

3.3.3. An Enrolled Program Claimant’s Second Eligible Event will be
evaluated by the Claims Administrator (both in the context of Article 2 and Article 3) and
the Gate Committee at the same time as such Enrolled Program Claimant's Related
Eligible Event is evaluated, Lf, and only if, the Claims Administrator or the Gate
Committee determines that such Enrolled Program Claimant meets the Eligibility
Requirements with respect to both his Related Eligible Event and his Second Eligible
Event (such an Enrolled Program Claimant, a “Double OPC”), such Double OPC will be
eligible to receive bonus Points as described in the following Section,

3.5.4. The Claims Administrator, in his discretion, may award a Double QPC
an additional number of MI Points or IS Points, as the case may be, up to an amount
equal to 30% of the number of Points that such Double QPC is awarded by the Claims
Administrator solely on the basis of his Related Eligible Event. The Double QPC’s
combined base and (if applicable) additional awards of Points shall, afler any appeal and
adjustment of the base Points award pursuant to Section 3.2.4, constitute the Double
QPC’s Pre-Special Review Points award for all purposes of this Agreement.

3.5.5. For the avoidance of doubt, a Double QPC’s status as an MI
Qualifying Program Claimant or an IS Qualifying Program Claimant, and the resultant
nature of any Settlement Payments to him as MJ Settlement Payments or IS Settlement
Payments, shall be determined based solely on the nature of such Double QPC’s Related
Eligible Event.

Section 3.6. No Punitive Damages

By enrolling into the Program, each Program Claimant waives the right to receive any
punitive damages pursuant to the Program and each Program Claimant understands and agrees
that no Settlement Payment paid hereunder is, or shall be deemed to be, attributable to punitive
damages.

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Article 4

Payment to Qualifving Program Claimants

Section 4.1. Interim Settlement Payments

4.1.1. Promptly after the later of (i) August 1, 2008, and (ii) the date on
which 2,500 MI Qualifying Program Claimants (including those constituting Special
Marker QPCs) have Pre-Special Review Points awards (the later of (i) and (ii), the “MI
Initial Settlement Payments Commencement Date”), the Claims Administrator shal]
estimate (x) the number of Points that ultimately will be awarded to all MT Qualifying
Program Claimants (other than Special Marker QPCs} (“Estimated Mi Non-Special
Marker OPC Total Points”) and {y) the number of MI Qualifying Program Claimants that
will be Special Marker QPCs (the “Estimated Aggregate MI Special Marker OPCs”), in
each case based on the Points awarded to all MI Qualifying Program Claimants
(including those constituting Specia! Marker QPCs) whe to such date have a Pre-Special
Review Points award and such other factors as the Claims Administrator considers to be
appropriate under the circumstances. Merck and the NPC each shall be entitled to make
submissions to the Claims Administrator with respect to such determinations of the
Claims Administrator.

4.0001. From and after the MI Initial Settlement Payments
Commencement Date (and such determinations of the Estimated MI Non-Special
Marker QPC Total Points and the Estimated Aggregate MI Special Marker QPC),
each MI Qualifying Program Claimant.(other than a Special Marker QPC) who
has a Pre-Special Review Poinis award shal! be paid (in accordance with Article
5) an amount equal to 40% of his estimated Final Settlement Payment pursuant to
Section 4.3 determined (A) based on his Pre-Special Review Points award, the
Estimated MI Non-Special Marker QPC Total Points and the Estimated
Aggregate MI Special Marker QPCs (and the estimated MI Point Value derived
from all the foregoing), (B) disregarding the reference in Section 4.3 to deducting
Interim Settlement Payments and (C) assuming that al] Special Marker OPCs will
elect to receive Fixed Payments, that the M7 EJ Payments will aggregate the MI EJ
Payments Cap Amount and that the MI Aggregate Settlement Amount will not be
increased pursuant to Section 5.4.1. The payments made pursuant to this 4.1.]
may be referred to herein as the “MI Interim Settlement Payments”.

4.1.1.2, Anything in Section 4.1.1.1 to the contrary
notwithstanding, in the event that the MI Interim Settlement Payment(s)} otherwise
to be paid at any time to one or more MI Qualifying Program Claimants would
(but for this sentence) result in the aggregate of all MI Interim Settlement
Payments to date exceeding an amount equal to 40% of the MI Aggregate
Settlement Amount (the “MI Interim Payments Cap”), then all such MI Interim
Settlement Payment(s) in question shai! be reduced pro rata to the extent
necessary so that the MI Interim Payments Cap is not exceeded, and no further MI
Interim Settlement Payments shall be made.

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4.1.2. Promptly after the later of () February 1, 2009, and (il) the date on
which 2,500 1S Qualifying Program Claimants (including those constituting Special
Marker QPCs) have Pre-Specia! Review Points awards (the later of (i) and (ii), the “IS
Initial Settlement Pavments Commencement Date”), the Claims Administrator shalt
estimate (x) the number of Points that ultimately will be awarded to all 1S Qualifying
Program Claimants (other than Special Marker QPCs) (“Estimated 1S Non-Special
Marker OPC Total Points”) and (y) the number of IS Qualifying Program Claimants that
will be Special Marker QPCs (the “Estimated Aggregate IS Special Marker OPCs”), in
each case based on the Points awarded to all JS Qualifying Program Claimants (including
those constituting Special Marker QPCs) who to such date have a Pre-Special Review
Points award and such other factors as the Claims Administrator considers to be
appropriate under the circumstances. Merck and the NPC each shall be entitled to make
submissions to the Claims Administrator with respect to such determinations of the
Claims Administrator.

4.1.2.1, From and after the IS Initial Settlement Payments
Commencement Date (and such determinations of the Estimated [IS Non-Special
Marker QPC Total Points and the Estimated Aggregate [S Special Marker QPCs),
each IS Qualifying Program Claimant (other than a Special Marker QPC) who has
a Pre-Special Review Points award shall be paid (in accordance with Article 5) an
amount equal to 40% of his estimated Final Settlement Payment pursuant to
Section 4.3 determined (A) based on his Pre-Special Review Points award and the
Estimated IS Non-Special Marker QPC Total Points and the Estimated Aggregate
IS Special Marker QPCs (and the estimated IS Point Value derived from any of
the foregoing), (B) disregarding the reference in Section 4.3 to deducting Interim
Settlement Payments and (C) assuming that ali Special Marker QPCs will elect to
receive Fixed Payments, that the JS Ef Payments will aggregate the IS £7
Payments Cap Amount and that the ZS Ageregate Settlement Amount will not be
increased pursuant to Section 5.4.1. The payments made pursuant to this may be
referred to herein as the “IS Interim Settlement Payments”.

4.1.2.2, Anything in Section 4.1.2.1 to the contrary
notwithstanding, in the event that the 1S Interim Settlement Payment(s) otherwise
to be paid at any time to one or more IS Qualifying Program Claimants would
(but for this sentence) result in the aggregate of all IS Interim Settlement
Payments to date exceeding an amount equal to 40% of the IS Aggregate
Settlement Amount (the “IS Interim Payments Cap”), then all such 18 Interim
Settlement Payment(s) in question shal] be reduced pro rata to the extent
nécessary so that the TS Interim Payments Cap is not exceeded, and no further IS
Interim Settlement Payments shall be made.

4.1.3, Anything in this Agreement to the contrary notwithstanding:

4.1.3.1, & Qualifying Program Claimant (i) that is a Special
Marker QPC, (ii) that did not submit an Enrollment Form on or prior to February
29, 2008 or (iii) in relation to which full compliance with the first sentence of

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Section }.2.2.4 was not achieved by February 29, 2008, shall not receive any
Interim Settlement Payment;

4.1.3.2. for the avoidance of doubt, no Settlement Payment shal]
be paid prior to the expiration of Merck’s Walk Away Right (without such right
having been exercised); and

4.1.3.3. . the making of Interim Settlement Payments to Qualifying
Program Claimants that are the subject of an audit are prohibited to the extent
specified in Section 10.1.4.

4.1.4, The making of any Interim Settlement Payment to any Qualifying
Program Claimant shall not create any right or expectancy in favor of such (or any other)
Qualifying Program Claimant as to the amount of such Qualifying Program Claimant’s
Final Settlement Payment or as to the value of Points.

4.1.5, Merck or the NPC may at any time require that the Claims
Administrator provide updated Estimated MI Non-Special Marker QPC Total Points,
Estimated Aggregate MI Special Marker QPCs, Estimated IS Non-Special Marker QPC
Tota] Points and/or Estimated Aggregate IS Special Marker QPCs figures based on Pre-
Speciai Review Point awards made through a specified date, and from and after any
delivery of any such updated figure(s), such updated figure(s) prospectively shall be used
for making MI Interim Settlement Payments or IS Interim Settlement Payments,
respectively.

Section 4.2. Extraordinary Injury Payments

4.2.1, MI Qualifving Program Claimants and IS Qualifying Program
Claimants may apply to receive extraordinary injury payments (“MEEJ Payments” and
“IS E] Payments”, respectively, and, collectively, “EI Payments”).

4.2.2, MI E] Payments for all MI Qualifying Program Claimants cannot in
the aggregate exceed $195 million (the “MIEI Payments Cap Amount”).

4.2.3, IS El Payments for all [S Qualifying Program Claimants cannot in the
aggregate exceed 3105 million (the “1S EI Payments Cap Amount”).

4.2.4, Each MI Qualifying Program Claimant that desires to seek an M] El
Payment, and each IS Qualifying Program Claimant that desires to seek an IS EI
Payment, shail have the burden of proving to the Special Master’s satisfaction such
Qualifying Program Claimant’s Specified Documented Economic Damages and, in that
connection, may be required by the Claims Administrator to produce further
documentation. .

4.2.3. To be eligible to be considered for an MI El] Payment, an MI
Qualifying Program Claimant must (i) have a Pre-Special Review Points award in excess
of the Special Review Marker and (ii) have (or be a Qualifying Program Claimant in
respect of a Product User that has) Specified Documented Economic Damages of not less

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than $250,000. To be eligible to be considered for an IS EI Payment, an IS Qualifying
Program Claimant must (i) have a Pre-Special Review Points award in excess of the
Special Review Marker and (ii) have (or be a Qualifying Program Claimant in respect of
a Product User that has) Specified Documented Economic Damages of not less than
$250,000 or submit PME Records reflecting an injury that is not adequately reflected by
Basic Activities of Daily Living or Instrumental Activities of Daily Living (as such terms
are defined in Exhibit 3.2.1).

42.6, Each Qualifying Program Claimant that is eligible for, and properly
and timely applies for, an E] Payment shall (subject to Section 4.2.8 and to all of the
other terms and conditions of this Agreement) receive an EI Payment according to
criteria to be determined by the Claims Administrator, provided that no Qualifying
Program Claimant’s E] Payment shall exceed $600,000. EI Payments are in addition to
the Final Settlement Payments pursuant to Section 4.3.

42.6.1, “Specified Documented Economic Damages” means, in

relation to any Product User, (i) such Product User’s past out-of-pocket medical
expenses and (ii) such Product User’s past lost wages, in each case to the extent
that such expenses or lost wages, as the case may be, are (x) a result of such
Product User’s Eligible Event, (y) Documented and (z) have neither been
reimbursed nor are eligibie for reimbursement.

4.2.6.2. “Documented” means Medical Records, billing records,
lax returns, social security earnings statements or any other documentation or
evidence requested, or otherwise found acceptable, by the Claims Administrator.

4.2.7, All determinations concerning a Qualifying Program Claimant’s
eligibility for an E] Payment, and the amount thereof, shall be made by the Claims
Administrator. The Claims Administrator shall promptly notify each Qualifying Program
Claimant, Merck and the NPC of such Qualifying Program Claimant’s E] Payment
determination. All E] Payment determinations of the Claims Administrator shall be made
according to guidelines to be established by the Claims Administrator in consultation
with Merck and the NPC, and (in any event) shall be final, binding and Non-Appealable.

4.2.8, EI Payment awards shall be determined in the first instance without
regard to the MI EI Payments Cap Amount or the JS El Payments Cap Amount, as the
case may be, but no MI EI Payment or IS E] Payment shail be made until all possible MI
E] Payments or IS EI Payments, respectively, eligibility and awards determinations have
(subject only to the remainder of this Section 4.2.8 below) been made. However, any
term of this Agreement to the contrary notwithstanding, if, after such process has been
fully completed, the aggregate MI El Payments or aggregate 15 El Payments,
respectively, so awarded in the first instance would (but for this sentence) exceed the MI
EI Paymenis Cap Amount or the IS El Payments Cap Amount, respectively, all such
initial M} El Payment awards or initia] IS EI Payment awards, respectively, shall be
reduced pro rata to the extent necessary so that such aggregate Ml EI Payment awards or
IS El Payment awards, respectively, exactly equal the MI EI Payments Cap Amount or IS
El Payments Cap Amount, respectively. After completion of the entire process set forth

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in this Section 4.2.8 with respect to MJ El Payments or IS E] Payments, as the case may
be, the final MT EI Payment awards or IS El Payment awards, respectively, shall be paid
in accordance with Article 3.

Section 4.3. Final Settlement Payments

4.3.1. After (and only after) (i) ali MI Qualifying Program Claimants have
completed the Claims Valuation Process and all Points awards to MI Qualifying Program
Claimants have become Final, (ii) the actual aggregate dollar amount of al! possible MI
Fixed Payments and MI EI Payments has been definitively determined and (iii) the final
round of audits pursuant to Article 10 have been completed with respect to all MI
Qualifying Program Claimants (or, if earlier, the 60th day afier the conditions specified in
clauses (i) and (ii) have been satisfied), each MI Qualifying Program Claimant (other
than those who elected to receive a Fixed Payment pursuant to Section 3.3) shall be paid
an ammount equal to (x) the product of such MI Qualifying Program Claimant’s Mi Points
multiplied by the M7 Poimt Value, minus (y) the amount of any Interim Settlement
Payment made to such Qualifying Program Claimant (each such payment, an “MI Final
Settlement Payment”).

4.3.2. After (and only after) (i) all 1S Qualifying Program Claimants have
completed the Claims Valuation Process and all Points awards to IS Qualifying Program
Claimants have become Final, (ii) the actual aggregate dollar amount of all possible IS
Fixed Payments and IS EI Payments has been definitively determined and (iii) the final
round of audits pursuant to Article 10 have been completed with respect to all IS
Sueliying Program Claimants (or, if earlier, the 60th day after the conditions specified in

clauses (i) and (ii) have been satisfied), each 1S Qualifying Program Claimant (other than
those who elected to receive a Fixed Payment pursuant to Section 3,3) shal] be paid an
amount equal to (x) the product of such 1S Qualifying Program Claimant’s IS Points
multiplied by the JS Paint Value, minus (y) the amount of any Interim Settlement
Payment made to such Qualifying Program Claimant (each such payment, an “IS Final
Settlement Payment”).

4.3.3, The MI Finai Settlement Payments and the IS Final Settlement
Payments may be referred to herein as the “Final Settlement Payments”).

Section 4.4. Satisfaction of Liens

For the avoidance of doubt, this Article 4 is subject in all respects to Article 12
(including in particular Section 12.1.3).

Article 5
Merck Funding Obligations

Section 5.1. Merck Funding Obligations

Merck agrees, subject to the terms and conditions hereof? (including in particular
Section 5.2 and Article 11), to make the payments that it is required from time to time to make
pursuant to this Section 5.1 (collectively, the “Funding Payments”

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5.1.1. Within fifteen (15) days after the entry of the Registration Order,
Merck shall deposit the sum of $3,000,000 into the Administrative Expenses Fund,

5.1.2. By not later than the second Business Day after the Walk Away Right
shall have expired without any exercise thereof by Merck:

5.1.2.1. Merck shall deposit the sum of $500,000,000 into the A¢/
SetHement Fund; and

5.1.2.2. Merck shall (i) deposit into the Escrow Fund an amount
equal to, (ii) deliver io the Claims Administrator one or more Letiers of Credits
with an aggregate “Maximum Draw Amount” (as defined in the form of Letter of
Credit attached hereto) equal to, or (iii) effect any combination of (i) and (ii)
equal in the aggregate to, $4, 100,000,000.

Any cash deposited into the Escrow Fund pursuant to Section 5.1.2.2 shall be divided
0.2683% to the MI Settlement Fund and 20.7317% to the ZS Settlement Fume; and

5.1.3. By not later than the later of (i) June 1, 2008 and (ii) three months after
the Walk Away Right shall have expired without any exercise thereof by Merck, Merck
shalt deposit the sum of $250,000,000 into the MI Settlement Fund.

5.1.4, On a monthly basis, an amount equa! to the Net Investment Earnings
(as defined in the Escrow Agreement) with respect to the MI Settlement Fund and the 18
Settlement Fund, respectively, shall be transferred from such Ses/ement Funes to the
Administrative Expenses Fund,

3.1.5, Promptly after the end of each calendar month, the Escrow Agent shail
submit to Merck, the NPC and the Claims Administrator a report, in such form and in
such detaj! as Merck (in consultation with the NPC) reasonably from time to time may
specify (an “Escrow Funds Report”), itemizing and certifying all payments or transfers
out of the Escrow Funds during the preceding calendar month, the Net Investment
Earnings transferred to the Administrative Expenses Fund during the preceding calendar
month and the balance on hand in each Escrow Fund as of the end of such calendar
month.

5.1.4, Within three (3} Business Days after the end of each calendar month,
the Claims Administrator shal] submit to Merck, the NPC and the Escrow Agent a report,
in such form and in such detail as Merck (in consultation with the NPC) reasonably from
time to time may specify (a “Payment Report”), itemizing and certifying the following:

§.1.6.1, a reconciliation of the Administrative Expenses and
Settlement Payments made during such calendar month against the projected
payments for such calendar month specified in the immediately preceding
Payment Report;

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5.1.6.2. all Administrative Expenses then due and payable, or
anticipated to become due and payable during the following calendar month (the
“Administrative Expenses Payables”);

5.1.6.3. all Interim Settlement Payments, Fixed Payments, El
Payments and Final Settlement Payments which, as of the end of such calendar
month, have been finally determined, and otherwise are timely for payment
(including there having been complete compliance with, and satisfaction of,
Article 12 (including in particular Section 12.1.3} with respect thereto), pursuant
to this Agreement (but have not yet been paid) in respect of MI Qualifying
Program Claimants (collectively, the “MJ OPC Payables”); and

3.1.6.4. all Interim Settlement Payments, Fixed Paymenis, El
Payments and Final Settlement Payments which, as of the end of such calendar
month, have been finally determined, and otherwise are timely for payment
(including there having been complete compliance with, and satisfaction of,
Article 12 (including in particular Section 12.1.3) with respect thereto), pursuant
to this Agreement (but have not yet been paid) in respect of IS Qualifying
Program Claimants (collectively, the “IS OPC Payables”).

Without limitation, the Payment Report shall provide the mformation necessary for the
Escrow Agent actually to make the payments specified in the Payment Report and, in the
case of MI QPC Payables and IS QPC Payables, to do so in accordance Article 9, The
Claims Administrator forthwith shall provide Merck with such further information
eonceming any Payment Report as Merck reasonably shall request.

§.1.7. Subject to Section 5.2.2, within twelve (12) Business Days of its
receipt of the Escrow Funds Report and the Payment Report for any particular calendar
month, Merck shall make such payments into each of the Escrow Funds as are necessary
so that, based solely on the information set forth in such Escrow Funds Report and after
giving effect to such Merck payment, the amounts on deposit in each of the Escrow
Funds will be sufficient to make all the payments specified in such Payment Report to be
paid out of such Escrow Fund (other than any such payment, or any portion thereof, that
Merck disputes in good faith (including on the basis that such payment, or portion
thereof, does not constitute an Administrative Expenses Payable, a MI QPC Payable or
an IS QPC Payable, as the case may be)}); provided, however, that inno event shal!
Merck shall be obligated to pay more than $250,000,000 pursuant to this Section during
any single calendar month (excluding from such calculation payments pursuant to this
Section in respect of Final Settlement Payments).

5.1.8, As specified in more detail in the Escrow Agreement, the Escrow
Agent wiil be authorized, subject to having sufficient funds on hand in the applicable
Fund, on or promptly after the thirteenth (13th) Business Day following receipt by the
Escrow Agent of any particular Payment Report, to pay (i) out of the Administrative
Expenses Fund, the various Administrative Expenses Payables specified in such Payment
Report, (ii) out of the MI Settlement Fund, the various MI QPC Payables specified in
such Payment Report, and (iii) out of the IS Settlement Fund, the various IS OPC

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Payables specified in such Payment Report; provided, however, that the Escrow Agent
will be prohibited from making any payment set forth in any particular Payment Report,
or portion thereof, which Merck is in good faith disputing (including on the basis that
such payment, or portion thereof, does not constitute an Administrative Expenses
Payable, a MI QPC Payable or an IS QPC Payable, as the case may be).

5.1.9, For the avoidance of doubt, subject only to Section 5.4, the Net
Investment Earnings (as defined in the Escrow Agreement) shall not increase the Overaé/
Setilement Amount, the MI Aggregate Settlement Amount or the IS Aggregate Settlement

Amount.
Section 5.2. Limitations on Merck Funding Obligations.
5.2.1. Any term of this Agreement (ar the Escrow Agreement) to the

contrary notwithstanding, Merck shall have no financial obligation under this Agreement
other than tts express obligations to make Funding Payments and/or to post Letters of
Credit, in each case as described in Section 5.1. Merck shall have no obligation to pay
(or to make any Funding Payment on account of), or reimburse any Program Claimant or
Enrolling Counsel for, any costs or expenses incurred by such Program Claimant or
Enrolling Counsel in connection with the Program. Neither Merck nor any of the other
Merck Released Parties shall have any responsibility for the management of any of the
Escrow Funds or Letters of Credit or any Liability to any Program Claimant arising from
the handling of Program Claims by the Special Master and/or the Claims Administrator.

5.2.2, Any term of this Agreement (or the Escrow Agreement) to the
contrary notwithstanding, (i) in no event shall Merck be required to make any Funding
Payment to the extent that the making of such Funding Payment would result in, and (ii)
in no event shall the Claims Administrator made any draw under any Letter of Credit to
the extent that the deposit inte the MI Settlement Fund and/or the IS Settlement Fund (as
the case may be pursuant to such draw) of the funds drawn pursuant to such draw would

resuit in:

$.2.2.1. the aggregate deposits (by Merck or from the proceeds of
any draw under any Letter of Credit) into the MI Settlement Fund and/or the IS
Settlement Fund, less (if applicable) the aggregate amount returned 10 Merck
pursuant to Section 4.4 of the Escrow Agreement, exceeding the Overal!
Settlement Amount;

3.2.2.2, the aggregate deposits made (by Merck or from the
proceeds of any draw under any Letter of Credit) into the MI Settlement Fund,
less (if applicable) the aggregate amount returned to Merck from the MI
Settlement Fund pursuant io Section 4.4 of the Escrow Agreement, exceeding the
MI Aggregate Settlement Amount; or

5.2.2.3, the aggregate deposits made (by Merck or from the
proceeds of any draw under any Letter of Credit) into the IS Settlement Fund, less
(if applicable) the aggregate amount returned to Merck from the IS Settlement

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Fund pursuant to Section 4.4 of the Escrow Agreement, exceeding the 1S
Ageregate Settlement Amount.

5.2.3, Any term of this Agreement (or the Escrow Agreement) to the
contrary notwithstanding, in no event shall:

5.2.3.1, {i} the aggregate of all Settlement Payments exceed the
Overall] Settlement Amount;

$23.2, the agpregate of all MI Settlement Payments exceed the
MI Aggregate Settlement Amount; or

5.2.3.3, the aggregate of all /S Settlement Payments exceed the IS
Aggregate Settlement Amount.

Section 5.3. Certain Letter of Credit Provisions

5.3.1. If Merck shall fail to comply with its funding obligations under
Section 5.1.7 with respect to either Settlement Fund, and Merck shall have failed to cure
such failure within five (5) Business Days following receipt of written notice from the
Claims Administrator to such effect, then the Claims Administrator may, at any time
thereafter so long as such failure continues to exist, make a draw under the Letter of
Credit (or, if more than one Letter of Credit is delivered to the Claims Administrator,
make draws under each of such Letters of Credit in proportion to the respective
“Maximum Draw Amounts” thereunder) in an aggregate amount equal to the amount
necessary to cure such failure. The “Drawing Certificate” in respect of any such draw
shal] (among other things required by such Certificate) (i) properly specify the
instructions in order for the proceeds of such draw to be transferred directly to the
Escrow Agent for deposit into the Escrow Fund and (ii) specify the division of the
proceeds of such draw between the MI Settlement Fund and the 1S Settlement Fund,
according to the respective amounts which Merck has failed to fund in relation to each
such Fund, The Claims Administrator also will notify the Escrow Agent of such proper
division,

5.3.2, If on or prior to the tenth Business Day prior to the “Expiration Date”
of any Letter of Credit, Merck shall not have caused the issuing bank of such Letter of
Credit to deliver an “Extension Notice” thereunder extending such Expiration Date, then
the Claims Administrator shall on the next Business Day make a draw under such Letter
of Credit in the full amount of the “Maximum Draw Amount” thereunder (any such draw,
a “Non-Extension Drawing”). If the Claims Administrator makes draws under one or
more Letters of Credit on three separate occasions with respect to three separate faitures
described in Section 5.3.1, then at any time thereafter when the Claims Administrator
shall be entitled to make a further draw on a Letter of Credit pursuant to Section 5.3.1,
the Claims Administrator in its discretion may make a draw under such Letter of Credit
in the full amount of the “Maximum Draw Amount” thereunder (any such draw, a
“Multiple Draw Drawing”), The “Drawing Certificate” in respect of any draw under this
Section 5.3.2 shall (among other things required by such Certificate) (i) properly specify

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the instructions in order for the proceeds of such draw to be transferred directly to the
Escrow Agent for deposit into the Escrow Fund and (ii) specify that the proceeds of such
draw shall be allocated between the MI Settlement Fund and the IS Setilement Fund in
proportion to the respective amounts of the MI Settlement Furid Top-up Amount and the
IS Settlement Fund Top-up Amount (calculated at such time). The Claims Administrator
also will notify the Escrow Agent of such proper division.

5.3.3. The Claims Administrator shall, within one ()) Business Day
following delivery of any “Draw Certificate” under any the Letter of Credit, deliver a
copy thereof to Merck by delivery via email of a PDF copy thereof, the NPC and the
Escrow Agent.

5.3.4. The Escrow Agent shall notify the Claims Administrator of any
deposit made by Merck into the MI Settlement Fund and/or the IS Settlement Fund
pursuant to Section 5.1.7 and the aggregate amount of such deposit (the “Funding
Amount”), Within one (1) Business Day following receipt of any such notice, the Claims
Administrator shall deliver to the issuing bank under each outstanding Letter of Credit (3)
a completed and signed “Reduction Certificate” specifying that the “Maximum Draw
Amount” under such Letter of Credit shall be reduced by an aggregate amount equal to
the Funding Amount (or, if more than one Letter of Credit is then outstanding, a portion
of the Funding Amount equal to the product of the Funding Amount multiplied by a
fraction of the numerator of which equals the “Maximum Draw Amount” at such time
under such Letter of Credit and the dominator of which equals the aggregate “Maximum
Draw Amount” at such time under all such Letters of Credit) and (ti) the original copy of
such Letter of Credit (including the latest “Extension Notice” thereunder, if applicable).
Any term of this Agreement to the contrary notwithstanding, Merck shall not be required
to make any further Funding Payment under Section 5.1.7 until the Claims Administrator
shall have complied with its obligations under this Section in respect of the immediately
preceding Funding Payment by Merck under Section 5.1.7.

3.3.5. Merck may at any time or from time to time deliver to the Ciaims
Administrator a new Letter of Credit in replacement of one or more then-outstanding
Letter(s) of Credit, so long as such replacement Letter of Credit has an initial “Maximum
Draw Amount” at least equal to the aggregate “Maximum Draw Amount” at the time
under all of such Letter(s) of Credit being replaced, and in exchange therefor the Claims
Administrator immediately shall surrender the replaced Letter(s) of Credit to Merck (or,
at Merck’s direction, the respective issuing bank(s) under such Letter(s) of Credit) for
cancellation.

453.6, If (i) any amounts are deposited in the Escrow Fund pursuant to a
Non-Extension Drawing and (ii) Merck at any time thereafter causes a new Letter of
Credit to be issued to the Claims Administrator (other than in replacement of a then-
outstanding Letter of Credit pursuant to Section 5.3.5), then the Claims Administrator
shall, within one (1) Business Day of the event described in clause (ii), direct the Escrow
Agent to pay over to Merck an amount equal in the aggregate to the “Maximum Draw
Amount” of such new Letter of Credit. The specific amounts to be paid over to Merck
out of each of the Ml Settlement Fund and the IS Settlement Fund pursuant to the

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preceding sentence shall be in such proportion so that, after giving effect to such payment
over 10 Merck, the relative amounts of the MI Settlement Fund Top-Up Amount and the
IS Settlement Fund Top-Up Amount shall be in the proportion of 82.4 to 17.6. The
notice to the Escrow Agent pursuant to this Section shall specify that it is so being made
pursuant to this Section.

5.3.7. If the Claims Administrator shall be replaced in accordance with this
Agreement, then such former Claims Administrator shall, on the jast Business Day on
which such Claims Administrator acts as the “Claims Administrator” hereunder, deliver
to the issuing bank under each then outstanding Leter of Credit (i) a completed and
signed “Transfer Certificate” thereunder specifying the name and address of the
successor to such Claims Administrator and (ii) the original copy of the Letter of Credit
(including the latest “Extension Notice” thereunder, if applicable).

5.3.8. If the Maximum Draw Amount under any Letter of Credit shall be
reduced to zero, or (if earlier) when all possible Settlement Payments have been paid in
accordance with this Agreement, the Claims Administrator shal! surrender such Letter of
Credit to Merck (or, at Merck’s direction, the issuing bank under such Letter of Credit)
for cancellation.

5.3.9. The Jead arranger(s) for any Letter of Credit facility shal] be a major
money center bank.

Section 3.4. Administrative Expenses Fund Excess

5.4.1. Promptly after the latest to occur of (i) the delivery by the Claims
Administrator of a Payment Repor that properly fists any MI Final Settlement Payments
as an Ml QPC Payable (which listing is not disputed by Merck) and (11) the delivery by
the Claims Administrator of a Payment Report that properly lists any IS Final Setilement
Payments as an [IS QPC Payable (which listing is not disputed by Merck}, Merck and the
NPC shall deliver a joint direction to the Escrow Agent to (x) transfer from the
Administrative Expenses Fund to the IS Settlement Fund (if (1) occurs before (ii), to the
MI Settlement Fund (if (ii) occurs before (i), cr 82.4% to the MI Settlement Fund and
17.6% to the 18 Settlement Fund (if (i) and (ii) occur at the same time), an amount equal
in the aggregate to the Excess Administrative Expenses Fund Amount (determined at
such time) and (y)} pay over to Merck an arnount equal to the amount described in clause
(y) of the definition of the term “Excess Administrative Expenses Fund Amount”.

3.4.2, The Claims Administrator shall notify Merck and the NPC when all
Settlement Payments have been paid. At any time after (i) delivery of the notice
specified in the preceding sentence or (ii) any exercise by Merck of its Walk Away Right,
at Merck’s request, Merck and the NPC shall deliver a joint direction to the Escrow
Agent to transfer the balance then remaining in the Administrative Expenses Fund (x) in
the case of (i) above, as may be jointly agreed by Merck and the NPC and (y) in the case
of (ii) above, to Merck. By making such request to the NPC, Merck shall be deemed to
have agreed to directly pay, to the extent of.any amount so paid over to it from the
Administrative Expenses Fund pursuant to such request, any Administrative Expenses

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